Case 2:05-cr-00003-JRG-RSP          Document 1279       Filed 08/15/12     Page 1 of 3 PageID #:
                                           3232



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 UNITED STATES OF AMERICA                       §
                                                §
 v.                                             §           Case No. 2:-05-CR-3-24- JRG-RSP
                                                §
 LUTHER LYNN WILLIAMS                           §

                         REPORT AND RECOMMENDATION OF
                       THE UNITED STATES MAGISTRATE JUDGE

         On August 8, 2012, the undersigned held a final hearing on the Government=s petition

 (#1278) to revoke supervised release. The Government was represented by Assistant United

 States Attorney Allen Hurst. The Defendant, Luther Lynn Williams, was represented by Craig

 Bass.

         Luther Lynn Williams was sentenced on March 17, 2006, before The Honorable U.S.

 District Judge T. John Ward of the Eastern District of Texas B Marshall Division, after pleading

 guilty to the offense of Use and Carrying of a Firearm During a Drug Trafficking Crime, a Class

 A felony. This offense carried a statutory maximum imprisonment term of life. The guideline

 imprisonment range, for a criminal history category of VI was the statutory minimum period of

 five years. Luther Lynn Williams was subsequently sentenced to 60 months imprisonment and

 five years supervised release, subject to the standard conditions of release, plus special

 conditions to include drug aftercare, mental health treatment and financial disclosure.      On

 February 2, 2010, Luther Lynn Williams completed his period of imprisonment and began

 service of the supervision term.

         On June 18, 2012, this petition to revoke was filed. In its petition, the Government

 alleges the Defendant violated the following conditions:
Case 2:05-cr-00003-JRG-RSP           Document 1279      Filed 08/15/12     Page 2 of 3 PageID #:
                                            3233



        1) Standard: The Defendant shall refrain from excessive use of alcohol and shall not

 purchase, possess, use, distribute, or administer any narcotic or other controlled substance, or

 any paraphernalia related to such substances, except as prescribed by a physician. Specifically,

 the Government alleges as follows: On March 28, 2012 and May 29, 2012, Mr. Williams

 submitted urine specimens which tested positive for cocaine. On July 5, 2010, July 19, 2010,

 July 23, 2010 and September 8, 2010, Mr. Williams submitted urine specimens which tested

 positive for marijuana.

        2) Standard: The Defendant shall work regularly at a lawful occupation unless excused

 by the probation officer for schooling, training or other acceptable reasons. Specifically, the

 Government alleges that Mr. Williams has been unemployed for approximately one year.

        3) Standard: The Defendant shall notify the probation officer ten days prior to any

 change of residence or employment. Specifically, the Government alleges that Mr. Williams

 moved from his residence located at 2908 Gilmer Road, Lot 2 without notifying the probation

 officer ten days prior to a change in residence.

        The Court scheduled a revocation hearing for August 8, 2012. At the hearing on the

 Government=s petition, and after consenting to the undersigned taking the plea, the Defendant

 pled true to the allegations as set forth above. Based on the Defendant=s plea of true to the

 allegations, and with no objection by the Defendant or the Government, the undersigned found

 that the Defendant did violate conditions of his supervised release, as alleged in the U.S.

 Probation Office=s petition.

        The undersigned thereafter recommended that the Defendant be committed to the custody

 of the Bureau of Prisons to be imprisoned for eight months, with no supervised release to follow


                                                    2
Case 2:05-cr-00003-JRG-RSP          Document 1279         Filed 08/15/12   Page 3 of 3 PageID #:
                                           3234



 such term of imprisonment. Based on the foregoing, it is

        RECOMMENDED that the Defendant=s plea of true to the allegations, as set forth in the

 Government=s petition, be ACCEPTED.            Based upon the Defendant=s plea of true to the

 allegations, it is further recommended that the Court find that the Defendant violated the

 conditions of his supervised release. It is further

        RECOMMENDED that the Defendant=s supervised release be REVOKED.                   It is

 further RECOMMENDED that the Defendant be committed to the custody of the Bureau of

 Prisons to be imprisoned for a term of eight months, with no supervised release to follow such

. term of imprisonment.

        At the close of the August 8, 2012 revocation hearing, Defendant, defense counsel, and

 counsel for the Government each signed a standard form waiving their right to object to the

 proposed findings and recommendations contained in this report, consenting to revocation of

 supervised release as recommended herein and to the imposition of the above sentence.

 Defendant also waived his right to be present and speak before the District Judge imposes the

 recommended sentence. Therefore, the Court may act on the findings and recommendation

 immediately.
       SIGNED this 3rd day of January, 2012.
        SIGNED this 15th day of August, 2012.




                                                       ____________________________________
                                                       ROY S. PAYNE
                                                       UNITED STATES MAGISTRATE JUDGE




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